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                                                    JONES DAY
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                                                      March 30, 2009


      VIA EMAIL

      M. Justin Draycott, Esq.
      Patrick Henry Building
      601 D Street, N.W.
      Washington, D.C. 20004
              Re:      United States ex tel. Ven-A-Care of the Florida Keys v. Abbott Laboratories, Inc.

      Dear Justin:

              I write to address a number of discovery topics.

              OGC Opinions

              I refer to your March 13, 2009 letter in which you described a search for certain OGC
      opinions pertaining to CMS’s ability to "require carriers to use the DOJ data because it is
      characterized by DOJ as more accurately reflecting average wholesale prices," as referenced in
      the recently produced June 2000 memorandum from Michael Hash to Kevin Thurm (HHD809-
      0008 et seq.). You have advised us that any such opiNons likely were "conveyed orally by OGC
      stafF’ to HCFA decision-makers. Given this newfound evidence, Abbott wishes to take limited
      additional discovery. This could include testimony and documents from Mr. Hash and the other
      individuals the United States has identified as receiving these opinions, as well as from the
      individuals who analyzed the potential impact described in the recently disclosed memorandum.
      See id. Please identify the witnesses who have relevant knowledge and advise whether the
      United States will agree to reopening document and deposition discovery for this limited
      purpose. I am available to discuss with you the most efficient manner of obtaining the pertinent
      information.

             In addition, please advise us whether the United States will supplement its responses to
      the written discovery propounded by Abbott, to the extent that this newly discovered evidence
      bears upon those requests. See, e.g., Interrogatories 14, 15.

               30(b)(6) Witnesses
              Pursuant to the Court’s rulings at the December 4, 2008 hearing pertaining to the United
      States! Motion foz ~ Protec~tive Order Regarding Abbott’s Rule 30~)(6)~Notices, please provide
      the names of the witnesses, and corresponding topics, that the United States is designating. As

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SAN DIEGO      SAN FRANCISCO ¯   SHANGHAI         SILICON VALLEY ¯ SINGAPORE      SYDNEY     TAIPEI      TOKYO      WASHINGTON
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                                                                         JONES DAY



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the OGC opinions, surrounding discussions, impact analysis, and decisions are encompassed
within several of the topics for which the United States must produce a witness (see, e.g., Topics
2, 7-9 of November 21, 2007 Letter from Cook to Gobena), please identify which witness(es)
will testify as to this information. Finally, please provide suggested dates for each 30(b)(6)
witness that the Government is designating.

       The Government’s Late Production of Docutnents from the Files of Paul Chesser
       At his deposition, Mr. Chesser testified regarding the existence of a number of types of
electronic data, documents, and files pertaining to the 1994 OAS audit. He stated that he still
had in his possession spreadsheets that compared invoice prices to the published average
wholesale prices for many, if not all, of the drugs involved in this litigation. See Chesser Dep. at
598-604. As you will recall, I immediately requested the United States conduct a search and
produce this information. Id. at 600-01. On February 23, 2009 the Government produced some
of the electronic data associated with this audit.

         Having compared the recently produced data to Mr. Chesser’s testimony, it appears that
this latest production remains incomplete, as the spreadsheets produced do not appear to contain
all of the information that Mr. Chesser described in his deposition. Accordingly, we request that
the United States undertake a further review for all electronic data, databases, documents, and
analyses that relate to the 1994 OAS audit, as well as all other OIG, OEI, and OAS studies that
analyzed Medicare Part B or Medicaid’s payment for prescription drugs or dispensing fees,
Provider’s acquisition cost for drags, drug pricing, and/or the difference between a Provider’s
acquisition cost for drugs and then published AWPs, WACs, Direct Prices, or List Prices. Please.
advise Abbott whether additional material responsive to our discovery requests exists and
provide a date by which additional productions will be made.
      Once we are certain that the production of files and data relating to the 1994 OAS audit is
complete, we can discuss the extent to which it is necessary to re-open Mr. Chesser’s deposition.


                                                Sincerely,

                                                /s/R. Christopher Cook

                                                R. Christopher Cook

cO:    .Counsel for Dey
        Counsel for Roxane
        Co~sel for ven-A-Care
